Case 8:20-cv-02608-GJH Document8 _ Filed 06/29/21 Page1of1
Case 8:20-cv-02608-GJH Document 7-1 Filed 01/26/21 Page 1 of 1

UNITED STATES DISTRICT COURT Ue] jy D6
FOR THE DISTRICT OF MARYLAND "C3 py,
[SOUTHERN DIVISION] Le pe ie

FARSHID FRANK SEPEHRI; NASRIN
SEPEHRI; and

FARSHID FRANK SEPEHRI, as the
Successor-in-Interest to THE ESTATE OF
NAVID SEPEHRI;

LEENA NARULA;

RICKY NARULA; and

P&G CORPORATION D/B/A BURKA’S
FINE WINES & LIQUORS;

Plaintiffs,
Civil Action No. 8:20-cv-2608-GJH
V.

Defendants.

ORDER

Upon consideration of Plaintiff's ANSWER TO DEFENDANTS’S MOTION TO

DISMISS, TO DISMISAL CLAIMS WITHOUT PREJUDICE, it is hereby:

ORDERED that all claims against Defendants are DISMISSED WITHOUT

PREJUDICE; ~ Ne élerk sheWe lee this Ccse -

SO ORDERED.

SIGNED AND ENTERED this q ny of JME 20021.

ZEA

BERS vibes

